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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     LPL FINANCIAL, LLC,                              Case No. 22-mc-80004-SI
                                   8                    Plaintiff,
                                                                                          JUDGMENT
                                   9             v.

                                  10     BRADLEY EVERETT GARDNER,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On May 31, 2022, the Court entered an order confirming an arbitration award in plaintiff’s

                                  14   favor. Dkt. No. 22. Judgment in favor of plaintiff and against defendant is entered accordingly.

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                                  17          IT IS SO ORDERED AND ADJUDGED.

                                  18   Dated: May 31, 2022

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                                                                                      SUSAN ILLSTON
                                  20                                                  United States District Judge
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